Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 1 of 47 PageID: 33737




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON             Civil Action No. 3:16-md-2738-
    TALCUM POWDER PRODUCTS               FLW-LHG
    MARKETING, SALES
    PRACTICES, AND PRODUCTS              MDL No. 2738
    LIABILITY LITIGATION


   THIS DOCUMENT RELATES TO ALL CASES


       THE PLAINTIFFS’ STEERING COMMITTEE’S OMNIBUS BRIEF
        REGARDING DAUBERT LEGAL STANDARD AND SCIENTIFIC
           PRINCIPLES FOR ASSESSING GENERAL CAUSATION
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 2 of 47 PageID: 33738




                                              TABLE OF CONTENTS

   I. LEGAL STANDARD FOR ADMISSIBILITY OF EXPERT GENERAL
   CAUSATION OPINIONS .........................................................................................1
     A. The Admissibility of Expert Testimony Under Fed. R. Evid. 702 ..................1
     B. Differing and Competing Expert Opinions Are Left for the Jury – The Trial
     Court Must Only Assess Methodology...................................................................2
     C. The Three Basic Inquiries for the Trial Court Under Fed. R. Evid. 702 And
     Third Circuit Precedent...........................................................................................4
         1) Qualifications ................................................................................................4
         2) Reliability ......................................................................................................6
         3) Fit .................................................................................................................11
   II.      LEGAL AND SCIENTIFIC PRINCIPLES OF CAUSAL INFERENCE .....11
     A. Causal Inference is a Matter of Judgement ....................................................12
     B. A Causal Inference Requires Examining the Totality of the Evidence and No
     Single Study Is Intended to Support Causation ....................................................13
     C. Both Epidemiologic and Toxicologic Studies Have Value............................18
     D. Basic Principles of Epidemiology ..................................................................20
         1) Epidemiology Relies Largely on Observational Studies ............................20
         2) Study Results Are Evaluated for the Existence of an Observed Association
            22
         3) Study Results are Evaluated for Strength of Association ...........................23
         4) Study Results Are Evaluated for the Role of Chance, Bias and
         Confounding ......................................................................................................24
               a. Statistical Significance is Frequently Misunderstood .............................27
               b. Confidence Intervals Provide the Probable Range of Risk Estimates ....28
               c. A Study’s Power Reflects the Likelihood of an Association Being
               Statistically Significant ...............................................................................29
               d. Confounding as a Source of Error in Epidemiologic Studies .................30
     E. The Law Related to Epidemiology and General Causation ...........................31


                                                                  i
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 3 of 47 PageID: 33739




     F. The Role of Biologic and Toxicological Evidence in Causal Determinations
        34
     G. Scientific Certainty is Not the Burden of the Proponent of Expert Testimony
        36




                                          ii
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 4 of 47 PageID: 33740




                                       TABLE OF AUTHORITIES

   Cases
   Abarca v. Franklin Cty. Water Dist.,
          761 F. Supp. 2d 1007 (E.D. Cal. 2011) .........................................................12
   Alexander v. Honeywell Int'l, Inc.,
          No. 1:17 CV 504, 2018 WL 4220628 (N.D. Ohio Sept. 5, 2018).................18
   Beech Aircraft Corp. v. Rainey,
          488 U.S. 153 (1988).........................................................................................3
   Brill v. Marandola,
          540 F. Supp. 2d 563 (E.D. Pa. 2008) .............................................................12
   Buzzerd v. Flagship Carwash of Port St. Lucie, Inc.,
          397 F. App'x 797 (3d Cir. 2010)......................................................................6
   D & D Assocs., Inc. v. Bd. of Educ. of N. Plainfield,
          No. CIV.A. 03-1026 (MLC), 2006 WL 755984 (D.N.J. Mar. 20, 2006)........6
   Daubert v. Merrell Dow Pharm., Inc.,
          43 F.3d 1311 (9th Cir. 1995) ....................................................................3, 40
   Daubert v. Merrell Dow Pharm., Inc.,
          509 U.S. 579 (1993)............................................................................... passim
   Eghnayem v. Bos. Sci. Corp.,
          57 F. Supp. 3d 658 (S.D.W. Va. 2014) .........................................................12
   Elcock v. Kmart Corp.,
          233 F.3d 734 (3d Cir. 2000) ................................................................. 6, 8, 19
   Gannon v. United States,
          292 F. App'x 170 (3d Cir. 2008)....................................................................20
   Gen. Elec. Co. v. Joiner,
          522 U.S. 136, 118 S. Ct. 512, 139 L. Ed. 2d 508 (1997) ..............................14
   Hamilton v. Emerson Elec. Co.,
          133 F. Supp. 2d 360 (M.D. Pa. 2001)............................................................14
   Heller v. Shaw Indus., Inc.,
          167 F.3d 146 (3d Cir. 1999) ........................................................... 8, 9, 10, 13
   Holbrook v. Lykes Bros. S.S. Co.,
          80 F.3d 777 (3d Cir. 1996) ..............................................................................5
   Holman Enterprises v. Fid. & Guar. Ins. Co.,
          563 F. Supp. 2d 467 (D.N.J. 2008) ................................................................14
   In re Abilify (Aripiprazole) Prod. Liab. Litig.,


                                                           iii
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 5 of 47 PageID: 33741




          299 F. Supp. 3d 1291 (N.D. Fla. 2018) .........................................................19
   In re Actos (Pioglitazone) Prod. Liab. Litig.,
          2014 WL 60384 (W.D. La. Jan. 7, 2014) ........................................................9
   In re Avandia Mktg.,
          No. 2007-MD-1871, 2011 U.S. Dist. LEXIS 479 (E.D. Pa. 2011) ........ 11, 20
   In re Bextra & Celebrex Mktg. Sales Practices & Prod. Liab. Litig.,
          524 F. Supp. 2d 1166 (N.D. Cal. 2007).................................................. 11, 12
   In re Fosamax (Alendronate Sodium) Prod. Liab. Litig.,
          No. CIV.A. 08-08, 2013 WL 1558690 (D.N.J. Apr. 10, 2013) ....................20
   In re Gabapentin Patent Litig.,
          No. CIV.A. 00-2931, 2011 WL 12516763 (D.N.J. Apr. 8, 2011) ................14
   In re Neurontin Mktg. & Sales Practices Litig.,
          04-CV-10739-PBS, 2011 WL 3852254 (D. Mass. Aug. 31, 2011), aff'd, 712
          F.3d 21 (1st Cir. 2013)...................................................................... 11, 16, 38
   In re Paoli R.R. Yard PCB Litig.,
          35 F.3d 717 (3d Cir. 1994) ..............................................................................7
   In re Phenylpropanolamine (PPA) Prod. Liab. Litig.,
          289 F. Supp. 2d 1230 (W.D. Wash. 2003) ....................................... 18, 33, 40
   In re Rezulin Prod. Liab. Litig.,
          369 F. Supp. 2d 398 (S.D.N.Y. 2005) ...........................................................12
   In re Seroquel Products Liab. Litig.,
           6:06-MD-1769-ORL-22D, 2009 WL 3806434 (M.D. Fla. June 18, 2009) .13
   In re TMI Litig.,
          193 F.3d 613 (3d Cir. 1999) ............................................................................2
   In re Tylenol (Acetaminophen) Mktg., Sales Practices, & Prod. Liab. Litig.,
          198 F. Supp. 3d 446 (E.D. Pa. 2016) ................................................ 18, 20, 37
   In re Urethane Antitrust Litig.,
          166 F. Supp. 3d 501 (D.N.J. 2016) ..................................................................4
   In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig.,
          26 F. Supp. 3d 449 (E.D. Pa. 2014) .................................................. 11, 13, 21
   In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig.,
          858 F.3d 787 (2017) ......................................................................... 18, 20, 39
   In re Zoloft (Sertralinehydrochloride) Prod. Liab. Litig.,
          176 F. Supp. 3d 483 (E.D. Pa. 2016) .............................................................15
   In re: Tylenol (Acetaminophen) Mktg., Sales Practices, & Prod. Liab. Litig.,
          No. 2436, 2016 WL 4039286 (E.D. Pa. July 28, 2016) ..................................3
   JVI, Inc. v. Truckform Inc.,


                                                          iv
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 6 of 47 PageID: 33742




         No. CIV. 11-6218 FLW, 2012 WL 6708169 (D.N.J. Dec. 26, 2012).............5
   Kannankeril v. Terminix Int'l, Inc.,
         128 F.3d 802 (3d Cir. 1997) ........................................................................6, 9
   Knight v. Kirby Inland Marine Inc.,
         482 F.3d 347 (5th Cir. 2007) .........................................................................43
   Kumho Tire Co. v. Carmichael,
         526 U.S. 137, 119 S. Ct. 1167, 143 L. Ed. 2d 238 (1999) ..........................3, 4
   Lanzilotti by Lanzilotti v. Merrell Dow Pharm. Inc.,
         No. CIV.A. 82-0183, 1986 WL 7832 (E.D. Pa. July 10, 1986) ....................38
   Leake v. United States,
         843 F. Supp. 2d 554 (E.D. Pa. 2011) .............................................................15
   Magistrini v. One Hour Martinizing Dry Cleaning,
         180 F. Supp. 2d 584 (D.N.J. 2002) ............................................. 13, 15, 18, 20
   Mazur v. Merck & Co.,
         742 F. Supp. 239 (E.D. Pa. 1990) ..................................................................38
   McMunn v. Babcock & Wilcox Power Generation Grp., Inc.,
         No. 2:10CV143, 2014 WL 814878 (W.D. Pa. Feb. 27, 2014) ......................19
   Milward v. Acuity Specialty Prod. Grp., Inc.,
         639 F.3d 11 (1st Cir. 2011).................................................................... passim
   Montgomery Cty. v. Microvote Corp.,
         320 F.3d 440 (3d Cir. 2003) ..........................................................................14
   Norris v. Baxter Healthcare Corp.,
         397 F.3d 878 (10th Cir. 2005) .......................................................................12
   Oddi v. Ford Motor Co.,
         234 F.3d 136 (3d Cir. 2000) ............................................................... 8, 10, 13
   Perry v. United States,
         755 F.2d 888 (11th Cir. 1985) .......................................................................13
   Pineda v. Ford Motor Co.,
         520 F.3d 237 (3d Cir. 2008) ........................................................................5, 9
   Player v. Motiva Enterprises LLC,
         No. CIV. 02-3216 (RBK), 2006 WL 166452 (D.N.J. Jan. 20, 2006) .............7
   Pooshs v. Phillip Morris USA, Inc.,
         287 F.R.D. 543 (N.D. Cal. 2012) ..................................................................12
   Primiano v. Cook,
         598 F.3d 558 (9th Cir. 2010) .........................................................................43
   Rimbert v. Eli Lilly & Co.,
         647 F.3d 1247 (10th Cir. 2011) .....................................................................12


                                                         v
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 7 of 47 PageID: 33743




   Ruiz-Troche v. Pepsi Cola of Puerto Rico Bottling Co.,
         161 F.3d 77 (1st Cir. 1998)................................................................... 2, 4, 42
   Schneider ex rel. Estate of Schneider v. Fried,
         320 F.3d 396 (3d Cir. 2003) ........................................................... 8, 9, 10, 14
   Soldo v. Sandoz Pharm. Corp.,
         244 F. Supp. 2d 434 (W.D. Pa. 2003) ...........................................................38
   Surace v. Caterpillar, Inc.,
         111 F.3d 1039 (3d Cir. 1997) ..........................................................................6
   United States v. Mitchell,
         365 F.3d 215 (3d Cir. 2004) ............................................................................3
   United States v. Velasquez,
         64 F.3d 844 (3d Cir. 1995) ............................................................................10
   Waite v. AII Acquisition Corp.,
         194 F. Supp. 3d 1298 (S.D. Fla. 2016) ..........................................................19
   Wolfe v. McNeil-PPC, Inc.,
         No. CIV.A. 07-348, 2011 WL 1673805 (E.D. Pa. May 4, 2011) .................38
   Yates v. Ford Motor Co.,
         113 F. Supp. 3d 841 (E.D.N.C. 2015) ...........................................................11


   Other Authorities
   Reference Manual on Scientific Evidence (3d ed. 2011) ................................ passim
   Restatement (Third) of Torts: Liability for Physical and Emotional Harm (2010).12


   Rules
   Fed. R. Evid. 402 .......................................................................................................2
   Fed. R. Evid. 702 .......................................................................................... 1, 2, 4, 6




                                                              vi
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 8 of 47 PageID: 33744




           The Plaintiffs’ Steering Committee (“PSC”) submits this omnibus brief in

   support of its motions to exclude the opinions and testimony of Defendants’ experts.

   This omnibus brief, when read in conjunction with the accompanying expert-specific

   briefs, will assist the Court with the applicable Daubert legal standard for evaluating

   expert witness general causation opinions and legal and scientific principles

   pertaining to causal inference. As set forth in the accompanying expert-specific

   briefs, Defendants’ expert witnesses have failed to satisfy the Daubert requirements

   as set forth herein.

   I.      LEGAL STANDARD FOR ADMISSIBILITY OF EXPERT GENERAL
           CAUSATION OPINIONS

           A.     The Admissibility of Expert Testimony Under Fed. R. Evid. 702

           The admissibility of expert testimony is determined pursuant to Fed. R. Evid.

   702, which incorporates the standards outlined by the United States Supreme Court

   in Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993). Pursuant to this rule,

   a witness qualified as an expert in “scientific…knowledge” may testify thereto if:

   “(1) the testimony is based upon sufficient facts or data, (2) the testimony is the

   product of reliable principles and methods, and (3) the witness has applied the

   principles and methods reliably to the facts of the case.”1 As established by the

   Supreme Court, the trial court acts as a “gatekeeper” to the admission of expert



   1
       Daubert, 509 U.S. at 592, 597.

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Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 9 of 47 PageID: 33745




   scientific testimony under Fed. R. Evid. 702.2 The trial court must conduct a

   preliminary assessment “to ensure that any and all scientific testimony . . . is not

   only relevant, but reliable.”3

             B.      Differing and Competing Expert Opinions Are Left for the Jury –
                     The Trial Court Must Only Assess Methodology
             The Daubert analysis focuses on the methodology underlying an expert’s

   opinion, not the expert’s conclusions.4 Daubert requires the proponent of the

   scientific evidence to show that the expert’s conclusion has been arrived at “in a

   scientifically sound and methodologically reliable fashion,” not that the expert’s

   opinion or methodology is beyond reproach.5 Therefore, the focus of admissibility

   under Daubert is the reliability of the experts’ methods, not the correctness of their

   conclusions.6 In other words, it is not the trial court’s task to decide whether an




   2
       Id. at 589.
   3
       Id.
   4
       Id. at 595.
   5
    Ruiz-Troche v. Pepsi Cola of Puerto Rico Bottling Co., 161 F.3d 77, 85 (1st Cir.
   1998); In re TMI Litig., 193 F.3d 613, 665 (3d Cir. 1999) (explaining that plaintiffs
   “do not have to demonstrate to the judge by a preponderance of the evidence that the
   assessments of their experts are correct, they only have to demonstrate by a
   preponderance of evidence that their opinions are reliable” (citation omitted)).
   6
    Daubert, 509 U.S. at 585. See also Beech Aircraft Corp. v. Rainey, 488 U.S. 153,
   1969 (1988); Fed. R. Evid. 402.

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Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 10 of 47 PageID: 33746




    expert’s conclusions are correct.7 The trial court is not empowered “to determine

    which of several competing scientific theories has the best province.”8 As long as

    the expert’s testimony falls within “the range where experts may reasonably differ,”

    then it is up to the jury to decide among the competing views.9

            The trial court’s role under Daubert is to ensure that “the expert in the

    courtroom employs the same level of intellectual rigor that characterizes the practice

    of an expert in the relevant field.”10 The trial court, as gatekeeper, should require

    nothing less to protect against junk science from confusing jurors, and to assure that


    7
      Daubert v. Merrell Dow Pharm., Inc., 43 F.3d 1311, 1318 (9th Cir. 1995) (Daubert
    II) (“[T]he Daubert test “is not the correctness of the expert’s conclusion but the
    soundness of his methodology.”).
    8
      Milward v. Acuity Specialty Prod. Grp., Inc., 639 F.3d 11, 15 (1st Cir. 2011)
    (internal quotation marks and citations omitted)
    9
      Kumho Tire Co. v. Carmichael, 526 U.S. 137, 153, 119 S. Ct. 1167, 143 L. Ed. 2d
    238 (1999); In re: Tylenol (Acetaminophen) Mktg., Sales Practices, & Prod. Liab.
    Litig., No. 2436, 2016 WL 4039286, at *2 (E.D. Pa. July 28, 2016) (“Fed. R. Evid.
    702 and Daubert put their faith in an adversary system designed to expose flawed
    expertise.”); United States v. Mitchell, 365 F.3d 215, 244–45 (3d Cir. 2004)
    (citations omitted) (“As long as an expert's scientific testimony rests upon ‘good
    grounds, based on what is known,’ it should be tested by the adversary process—
    competing expert testimony and active cross–examination—rather than excluded
    from jurors' scrutiny for fear that they will not grasp its complexities or satisfactorily
    weigh its inadequacies.”); In re Urethane Antitrust Litig., 166 F. Supp. 3d 501
    (D.N.J. 2016) (“in serving the “gatekeeper function” and assessing the reliability of
    an expert's methodology, the Court must be mindful that in order to be admissible,
    a scientific method need not be the “best” method or one that is demonstrably
    correct. “Rather, the test is whether the ‘particular opinion is based on valid
    reasoning and reliable methodology.’)
    10
         Kumho Tire Co., 526 U.S. at 150–151.

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Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 11 of 47 PageID: 33747




    science in the courtroom meets threshold reliability standards.11 But the converse is

    also true: the trial court should not impose standards that exceed what is expected

    and practiced in the expert’s field.12

             C.    The Three Basic Inquiries for the Trial Court Under Fed. R. Evid.
                   702 And Third Circuit Precedent
             The Third Circuit has distilled Fed. R. Evid. 702 down to three basic inquiries:

    qualifications, reliability, and fit.13

                   1)     Qualifications

             The first requirement mandates that the expert witness must have specialized

    expertise on the subject matter at hand so they can provide both insightful and

    relevant testimony.14 The Third Circuit has held that “a broad range of knowledge,

    skills, and training [will] qualify an expert.”15

             Whether an expert is the best qualified person to testify on a given matter goes

    to the weight of the evidence rather than admissibility, and weight decisions should

    be left to the jury.16 “However, at a minimum, a proffered expert witness must


    11
         Daubert, 509 U.S. at 595.
    12
         Ruiz-Troche, 161 F.3d at 86.
    13
      JVI, Inc. v. Truckform Inc., No. CIV. 11-6218 FLW, 2012 WL 6708169, at *4
    (D.N.J. Dec. 26, 2012) (Wolfson, F.) (quotations and citation omitted).
    14
         Pineda v. Ford Motor Co., 520 F.3d 237, 244 (3d Cir. 2008).
    15
         Id. (citation and quotations omitted).
    16
      Holbrook v. Lykes Bros. S.S. Co., 80 F.3d 777, 782 (3d Cir. 1996) (“Because of
    our liberal approach to admitting expert testimony, most arguments about an expert's

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Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 12 of 47 PageID: 33748




    possess skill or knowledge greater than the average layman.”17 “If the expert meets

    liberal minimum qualifications, then the level of the expert's expertise goes to

    credibility and weight, not admissibility.”).18 However, while an expert may be

    qualified in some areas, the expert may not be qualified to testify to specific topics

    outside his or her area of expertise.19 Any testimony outside the expert’s area of

    expertise must be stricken. For example, an expert qualified to testify regarding the

    use of polarized light microscopy (PLM) in the evaluation of talcum powder, but has

    no expertise in other types of analysis such as Raman spectroscopy or transmission

    electron microscopy (TEM), may not testify to the strengths or weaknesses of a type

    of analysis for which they have no experience or expertise.20




    qualifications relate more to the weight to be given the expert's testimony than to its
    admissibility. Thus, witnesses may be competent to testify as experts even though
    they may not, in the court's eyes, be the ‘best’ qualified. Who is ‘best’ qualified is a
    matter of weight upon which reasonable jurors may disagree.”).
    17
         Elcock v. Kmart Corp., 233 F.3d 734, 746 (3d Cir. 2000).
    18
         Kannankeril v. Terminix Int'l, Inc., 128 F.3d 802, 809 (3d Cir. 1997).
    19
       Surace v. Caterpillar, Inc., 111 F.3d 1039, 1056 (3d Cir. 1997); Buzzerd v.
    Flagship Carwash of Port St. Lucie, Inc., 397 F. App'x 797, 800 (3d Cir. 2010)
    (affirming exclusion of proffered expert testimony, in part because the witness
    “articulated no expertise in the field of aerodynamics or air flow”); see D & D
    Assocs., Inc. v. Bd. of Educ. of N. Plainfield, No. CIV.A. 03-1026 (MLC), 2006 WL
    755984, at *3 (D.N.J. Mar. 20, 2006) (“If an expert’s area of expertise is adjacent
    to, but not actually encompassing, the subject matter of his testimony, he may be
    deemed unqualified.”).
    20
     See, e.g., Player v. Motiva Enterprises LLC, No. CIV. 02-3216 (RBK), 2006 WL
    166452, at *5 (D.N.J. Jan. 20, 2006) (finding that an expert who was experience in

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Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 13 of 47 PageID: 33749




                 2)     Reliability

          Next, the expert’s testimony must be reliable.21 In other words, the expert's

    opinion must be based on the methods and procedures of science rather than on

    subjective belief or unsupported speculation; the expert must have good grounds for

    his or her belief. An assessment of the reliability of scientific evidence under Fed.

    R. Evid. 702 requires a determination as to its scientific validity.

          To determine if an expert’s testimony is indeed reliable, the Third Circuit has

    provided some factors district courts should consider:

                 [(1)] whether a method consists of a testable hypothesis;
                 (2) whether the method has been subject to peer review;
                 (3) the known or potential rate of error; (4) the existence
                 and maintenance of standards controlling the technique's
                 operation; (5) whether the method is generally accepted;
                 (6) the relationship of the technique to methods which
                 have been established to be reliable; (7) the qualifications
                 of the expert witness testifying based on the methodology;
                 and (8) the non-judicial uses.22



    appraising uncontaminated properties was unqualified to provide an opinion on the
    value of contaminated properties).
    21
       In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 744 (3d Cir. 1994) (“This does not
    mean that plaintiffs have to prove their case twice—they do not have to demonstrate
    to the judge by a preponderance of the evidence that the assessments of their experts
    are correct, they only have to demonstrate by a preponderance of evidence that their
    opinions are reliable.” (emphasis in original) (italics added)). “[A]n expert is
    permitted wide latitude to offer opinions, including those that are not based on
    firsthand knowledge or observation.” Daubert, 509 U.S. at 592.).
    22
       Schneider ex rel. Estate of Schneider v. Fried, 320 F.3d 396, 405 (3d Cir. 2003)
    (citation omitted).

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Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 14 of 47 PageID: 33750




             The Third Circuit has explained that this list is non-exclusive and trial courts

    do not need to apply each factor in every single case.23 In addition, reviewing these

    factors is also not a simple analysis and a tally of how many of them end up in a

    party’s favor.24 Rather, in determining whether to admit an expert’s opinion, a trial

    court must thoroughly assess “whether the ‘particular opinion is based on valid

    reasoning and reliable methodology.’”25 Finally, the trial court does not have to

    focus on the conclusions the expert’s methodologies create because that is a job for

    the jury.26

             Additionally, “[w]here there are other factors that demonstrate the reliability

    of the expert's methodology, an expert opinion should not be excluded simply




    23
         Elcock, 233 F.3d at 746.
    24
       Heller v. Shaw Indus., Inc., 167 F.3d 146, 152 (3d Cir. 1999) (“In this regard, a
    party seeking to exclude (or to admit) expert testimony must do more than enumerate
    the factors from Daubert (and the additional ones from Paoli, discussed below) and
    tally the number that are or are not met by a particular expert's testimony.”).
    25
      See Oddi v. Ford Motor Co., 234 F.3d 136, 145–46 (3d Cir. 2000) (citation
    omitted).
    26
       See Kannankeril, 128 F.3d at 807 (“Our inquiry focuses on principles and
    methodology and not on the conclusions they generate. The analysis of the
    conclusions themselves is for the trier of fact when the expert is subjected to cross-
    examination.”) (citations omitted); In re Actos (Pioglitazone) Prod. Liab. Litig.,
    2014 WL 60384, at *8 (W.D. La. Jan. 7, 2014) (“an expert can and does exercise his
    or her judgment and if he or she gives reasons for that decision and a full explanation
    for those choices, disagreement with those choice becomes a matter for the trier of
    fact.”).

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Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 15 of 47 PageID: 33751




    because there is no literature on point.”27 Furthermore, the method used by the expert

    does not always have to be correct. The method just needs to be reliable.28

             The expert, however, must have good grounds for his or her opinion.29 Courts

    in the Third Circuit should not strictly apply this reliability requirement.30 A trial

    court cannot exclude a novel method of expert testimony so long as the method the

    expert employs and its application of that method are reliable.31 Whether or not a

    court should admit an expert’s opinion, depends on “whether the ‘particular opinion

    is based on valid reasoning and reliable methodology.’”32 And if a court believes



    27
         Schneider ex rel. Estate of Schneider, 320 F.3d at 406.
    28
       Pineda, 520 F.3d at 247 (“While a litigant has to make more than a prima facie
    showing that his expert's methodology is reliable, we have cautioned that the
    evidentiary requirement of reliability is lower than the merits standard of
    correctness.”) (citations and quotations omitted); see also Heller, 167 F.3d at 152
    (“Put differently, an expert opinion must be based on reliable methodology and must
    reliably flow from that methodology and the facts at issue—but it need not be so
    persuasive as to meet a party's burden of proof or even necessarily its burden of
    production.”); see also Kannankeril, 128 F.3d at 807.
    29
      Schneider ex rel. Estate of Schneider, 320 F.3d at 404 (“[T]he expert must have
    good grounds for his o[r] her belief.”) (quotations omitted).
    30
      United States v. Velasquez, 64 F.3d 844, 849–50 (3d Cir. 1995) (“We have
    cautioned, however, against applying the reliability requirement too strictly,
    explaining that the reliability requirement must not be used as a tool by which the
    court excludes all questionably reliable evidence. The ultimate touchstone of
    admissibility is helpfulness to the trier of fact.”) (quotations and citation omitted).
    31
       Heller, 167 F.3d at 153 (“[T]he district court could not exclude the testimony
    simply because the conclusion was ‘novel’ if the methodology and the application
    of the methodology were reliable.”) (citation omitted).
    32
         Oddi, 234 F.3d at 145–46 (citation omitted).

                                                8
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 16 of 47 PageID: 33752




    that the expert’s opinion does not make sense based on the data in the case, it can

    properly exclude it.33

          Focusing on extremely limited evidence, or ignoring the totality of available

    relevant scientific proof, renders an expert opinion unreliable and scientifically

    unsound.34 There is significant support across the country finding expert testimony

    unreliable if the expert fails to consider contrary evidence. “An expert’s opinion may

    be unreliable if he fails to account for contrary scientific literature and instead

    ‘selectively chooses his support from the scientific landscape.’”35


    33
      Id. at 146 (“A court may conclude that there is simply too great a gap between the
    data and the opinion proffered.”) (citations and quotations omitted).
    34
       In re Neurontin Mktg. & Sales Practices Litig., 04-CV-10739-PBS, 2011 WL
    3852254, at *34 (D. Mass. Aug. 31, 2011), aff'd, 712 F.3d 21 (1st Cir. 2013)
    (excluding expert's testimony where it was found that the expert “reache[d] his
    opinion by first identifying his conclusion . . . and then cherry-picking observational
    studies that support his conclusion and rejecting or ignoring the great weight of the
    evidence that contradicts his conclusion.” (citing In re Bextra & Celebrex Mktg.
    Sales Practices & Prod. Liab. Litig., 524 F. Supp. 2d 1166, 1176 (N.D. Cal. 2007)
    (emphasis added)); Yates v. Ford Motor Co., 113 F. Supp. 3d 841, 858 (E.D.N.C.
    2015); see also In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig., 26 F.
    Supp. 3d 449 (E.D. Pa. 2014) (finding expert’s opinion not reliable or scientifically
    sound because the expert failed to account adequately for contrary evidence (citing
    In re Avandia Mktg., No. 2007-MD-1871, 2011 U.S. Dist. LEXIS 479, at *9 (E.D.
    Pa. 2011)).
    35
      In re Zoloft, 26 F. Supp. 3d at 449; Brill v. Marandola, 540 F. Supp. 2d 563 (E.D.
    Pa. 2008); In re Bextra and Celebrex Marketing Sales Practices and Product
    Liability Litigation, 524 F. Supp. 2d at 1176; In re Rezulin Prod. Liab. Litig., 369 F.
    Supp. 2d 398, 425 & n. 164 (S.D.N.Y. 2005); Eghnayem v. Bos. Sci. Corp., 57 F.
    Supp. 3d 658, 676 (S.D.W. Va. 2014) (quoting In re Rezulin Products Liability
    Litigation, 369 F. Supp. 2d at 425 (emphasis added and internal citations omitted)
    “[I]f the relevant scientific literature contains evidence tending to refute the expert's

                                               9
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 17 of 47 PageID: 33753




          “[T]he reliability of an expert's opinion should be seriously questioned when

    it is shown that the expert formed his or her opinion prior to reviewing scientific

    evidence, and, thereafter, merely cherry-picked evidence favorable to that

    opinion.”36

          In fact, many courts have identified certain methodological flaws as "red

    flags" that support exclusion of expert testimony on Daubert grounds, in addition to

    “cherry picking.” These include: 1) improper extrapolation; 2) reliance on anecdotal




    theory and the expert does not acknowledge or account for that evidence, the expert's
    opinion is unreliable.”); see also Norris v. Baxter Healthcare Corp., 397 F.3d 878,
    886 (10th Cir. 2005) (affirming exclusion of expert testimony that failed to account
    for epidemiological evidence); Pooshs v. Phillip Morris USA, Inc., 287 F.R.D. 543,
    546 (N.D. Cal. 2012) (“A methodology may not be reliable if an expert fails to
    address and exclude alternative explanations for the data on which he bases his
    findings or rejects studies reporting contrary empirical findings.”); Abarca v.
    Franklin Cty. Water Dist., 761 F. Supp. 2d 1007, 1066 n.60 (E.D. Cal. 2011) (“A
    scientist might well pick data from many different sources to serve as circumstantial
    evidence for a particular hypothesis, but a reliable expert would not ignore contrary
    data, misstate the findings of others, make sweeping statements without support, and
    cite papers that do not provide the support asserted.” (internal citations omitted));
    Rimbert v. Eli Lilly & Co., 647 F.3d 1247 (10th Cir. 2011) (“[A]n expert who
    chooses to completely ignore significant contrary epidemiological evidence in favor
    of focusing solely on non-epidemiological studies that support her conclusion
    engages in a methodology that courts find unreliable.”).
    36
       In re Seroquel Products Liab. Litig., 6:06-MD-1769-ORL-22D, 2009 WL
    3806434, at *5 (M.D. Fla. June 18, 2009) (“A scientist who has a formed opinion as
    to the answer he is going to find before he even begins his research may be less
    objective than he needs to be in order to produce reliable scientific results.” (citing
    Perry v. United States, 755 F.2d 888, 892 (11th Cir. 1985) (emphasis added))); In re
    Zoloft, 26. F. Supp. 3d 461.

                                              10
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 18 of 47 PageID: 33754




    evidence; 3) insufficient information about the case; 4) failure to consider other

    possible causes;37 5) lack of testing; and 6) subjectivity.38

                 3)     Fit

          The last part of the Third Circuit’s trilogy regarding admission of expert

    testimony is whether the expert’s testimony fits, which means that it is relevant to

    the case at bar and will help a juror in reaching their final decision.39

    II.   LEGAL AND SCIENTIFIC PRINCIPLES OF CAUSAL INFERENCE

          Applying Daubert in phased litigation such as this, the PSC’s experts are only

    required to proffer testimony on the issue of general causation. General causation



    37
       Heller, 167 F.3d at 156 (finding that an expert's testimony “should not be excluded
    because he or she has failed to rule out every possible alternative cause of a plaintiff's
    illness,” but should only be ruled out if he or she fails to rule out obvious alternative
    explanations (emphasis added)).
    38
       Oddi, 234 F.3d at 158 (3d Cir. 2000) (holding that an expert's ipse dixit does not
    withstand Daubert's scrutiny); Magistrini v. One Hour Martinizing Dry Cleaning,
    180 F. Supp. 2d 584, 595 (D.N.J. 2002) citing Gen. Elec. Co. v. Joiner, 522 U.S.
    136, 146, 118 S. Ct. 512, 139 L. Ed. 2d 508 (1997) (“nothing in either Daubert or
    the Federal Rules of Evidence requires a district court to admit opinion evidence that
    is connected to existing data only by the ipse dixit of the expert.”); Montgomery Cty.
    v. Microvote Corp., 320 F.3d 440, 448 (3d Cir. 2003) (citing Joiner, 522 U.S. at
    146); In re Gabapentin Patent Litig., No. CIV.A. 00-2931, 2011 WL 12516763, at
    *10 (D.N.J. Apr. 8, 2011); Hamilton v. Emerson Elec. Co., 133 F. Supp. 2d 360, 370
    (M.D. Pa. 2001) (“ipse dixit is defined in Black's Law Dictionary as ‘a bare assertion
    resting on the authority of an individual.’ Black's Law Dictionary 828 (6th Ed.
    1990).”); Holman Enterprises v. Fid. & Guar. Ins. Co., 563 F. Supp. 2d 467, 470
    (D.N.J. 2008).
    39
      See Schneider ex rel. Estate of Schneider, 320 F.3d at 404 (“[R]ule 702 requires
    that the expert testimony must fit the issues in the case.).

                                               11
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 19 of 47 PageID: 33755




    exists when a substance is capable of causing a disease. In contrast, specific

    causation exists when exposure to an agent caused an individual plaintiff’s disease.40

          If an exposure to a talcum powder product is capable of causing ovarian

    cancer in susceptible humans, the general causation requirement is met; it is not

    necessary that the exposure cause ovarian cancer in all, or most, people. By way of

    analogy, it is accepted that tobacco smoke causes lung cancer, even though many

    long-term smokers do not develop lung cancer.

          A.     Causal Inference is a Matter of Judgement

          Scientists recognize that determining causal probability should not be

    regarded as an experimental or epidemiological result. Rather, it is a “judgment”

    made about the totality of experimental or epidemiological data.

          “Drawing causal inference . . . requires judgment and searching analysis based

    on biology, of why a factor or factors may be absent despite a causal relationship,

    and vice versa.”41 As this judgment is a scientific determination, it can evolve “as


    40
      Magistrini, 180 F. Supp. 2d at 590. See also In re Zoloft (Sertralinehydrochloride)
    Prod. Liab. Litig., 176 F. Supp. 3d 483, 491 (E.D. Pa. 2016); see also Leake v. United
    States, 843 F. Supp. 2d 554, 558 (E.D. Pa. 2011) (“In toxic tort cases, a plaintiff
    must demonstrate that the substance at issue is capable of causing the observed harm
    (general causation), and that the substance actually caused the harm suffered by the
    plaintiff (specific causation).”) (citations and footnote omitted); Restatement (Third)
    of Torts: Liability for Physical and Emotional Harm [hereinafter Restatement] § 28
    cmt. c(3) (2010) (emphasis added).
    41
       Reference Manual on Scientific Evidence, Fed. Judicial Ctr. (3d ed. 2011)
    (hereinafter Ref. Man.) at 600.

                                              12
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 20 of 47 PageID: 33756




    new evidence develops” because “the scientific enterprise must always remain open

    to reassessing the validity of past judgments.”42 The judgment of whether to draw a

    causal inference can lead to disagreement amongst experts in the field.43 This

    interpretation of scientific studies “can produce legitimate disagreement among

    experts, and there is no mechanical procedure for resolving such differences of

    opinion. In the end, deciding whether associations are causal typically is not a matter

    of statistics alone, but also rests on scientific judgment.”44

             B.        A Causal Inference Requires Examining the Totality of the
                       Evidence and No Single Study Is Intended to Support Causation

             Scientists believe that assessing causation requires considering and evaluating

    the totality of the evidence. “Scientific inference typically requires consideration of

    numerous findings, which, when considered alone, may not individually prove the

    contention.”45 This is how science outside of the courtroom functions. Only through



    42
         Id. at 598.
    43
      See, example e.g., In re Neurontin Mktg., Sales Practices, & Prod. Liab. Litig.,
    612 F. Supp. 2d 116, 149 (D. Mass. 2009) (causation supported by biologic
    plausibility notwithstanding the “robust debate in the scientific community”
    regarding the proposed mechanism).
    44
         Ref. Man. at 222.
    45
       Id. at 19–20; see also Milward, 639 F.3d at 26 (reversing the district court’s
    exclusion of expert testimony based on an assessment of the contribution of
    individual studies to an assessment of causation and finding that the “weight of the
    evidence” properly supported the expert’s opinion that exposure to benzene can
    cause acute promyelocytic leukemia).

                                               13
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 21 of 47 PageID: 33757




    the accumulation of scientific evidence, may a scientist infer causation. There is

    simply no definitive check-list or magic formula for making scientific judgments.

    As explained in the Reference Manual on Scientific Evidence:

          It appears that many of the most well-respected and prestigious
          scientific bodies (such as the International Agency for Research on
          Cancer (IARC), the Institute of Medicine, the National Research
          Council, and the National Institute for Environmental Health Sciences)
          consider all the relevant available scientific evidence, taken as a whole,
          to determine which conclusion or hypothesis regarding a causal claim
          is best supported by the body of evidence. In applying the scientific
          method, scientists do not review each scientific study individually for
          whether by itself it reliably supports the causal claim being advocated
          or opposed.46

          As have numerous other courts, the Third Circuit has endorsed an expert’s use

    of the “weight of the evidence” approach to assessing the “totality” of evidence for

    evaluating general causation.47 As detailed in the PSC’s Daubert submissions, the


    46
      Ref. Man. A primary source of authority for this brief is the Reference Manual on
    Scientific Evidence, published by the Federal Judicial Center. The Federal Judicial
    Center is the research and education agency of the federal judicial system. It was
    established by Congress in 1967 (28 U.S.C. §§ 620-629 (2015)), on the
    recommendation of the Judicial Conference of the United States, with the mission
    to “further the development and adoption of improved judicial administration in the
    courts of the United States.” Id. at xiii-xvi; see also Federal Judicial Center,
    http://www.fjc.gov (last visited Nov. 15, 2018). The PSC refers to the Reference
    Manual (in addition to case law) throughout this brief because it is designed to assist
    judges on science issues, including Daubert.
    47
      See In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig., 858 F.3d 787, 796–
    797 (2017) (citing Milward, 639 F.3d at 17 (“[t]he court treated the separate
    evidentiary components of [the expert’s] analysis atomistically, as though his
    ultimate opinion was independently supported by each.”); see also Magistrini, 180
    F. Supp. 2d at 607; In re Tylenol (Acetaminophen) Mktg., Sales Practices, & Prod.
    Liab. Litig., 198 F. Supp. 3d 446, 458 (E.D. Pa. 2016); In re Phenylpropanolamine

                                              14
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 22 of 47 PageID: 33758




    PSC’s experts base their general causation opinions on multiple lines of scientific

    evidence, including, but certainly not limited to epidemiologic evidence.

             To better aid scientists in their quest to infer causation, Sir Austin Bradford

    Hill suggested various factors one could consider to infer causation from

    association.48 Hill proposed that consideration of nine “viewpoints” would assist

    scientists to assess causal relationships.49 These guidelines are “employed only after

    a study finds an association to determine whether that association reflects a true

    causal relationship.”50




    (PPA) Prod. Liab. Litig., 289 F. Supp. 2d 1230, 1242 (W.D. Wash. 2003) (rejecting
    defense Daubert challenges which “isolate these sources [of evidence] rather than
    considering the whole”); Alexander v. Honeywell Int'l, Inc., No. 1:17 CV 504, 2018
    WL 4220628 (N.D. Ohio Sept. 5, 2018); In re Seroquel Prod. Liab. Litig., 2009 WL
    3806435; McMunn v. Babcock & Wilcox Power Generation Grp., Inc., No.
    2:10CV143, 2014 WL 814878 (W.D. Pa. Feb. 27, 2014); In re Abilify (Aripiprazole)
    Prod. Liab. Litig., 299 F. Supp. 3d 1291 (N.D. Fla. 2018); Waite v. AII Acquisition
    Corp., 194 F. Supp. 3d 1298 (S.D. Fla. 2016).
    48
      Austin Bradford Hill, The Environment and Disease: Association or Causation?,
    58 Proc. Royal Soc’y Med. 295 (1965), see attached as Exhibit A; David E.
    Lilienfeld, et al., FOUNDATIONS OF EPIDEMIOLOGY 263-266 (3d ed. 1994) (further
    explaining Bradford-Hill criteria), see attached as Exhibit B.
    49
       Id. The nine viewpoints are: strength or frequency of the association; the
    consistency of the association in varied circumstances; the specificity of the
    association; the temporal relationship between the disease and the posited cause; the
    dose response curve between them; the biological plausibility of the causal
    explanation given existing scientific knowledge; the coherence of the explanation
    with generally known facts about the disease; the experimental data that relates to it;
    and the existence of analogous causal relationships. Ref. Man. at 600.
    50
         Id. at 598-99.

                                               15
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 23 of 47 PageID: 33759




          The Third Circuit has endorsed the use of the Hill guidelines as a generally

    reliable methodology.51 Numerous legal authorities recognize that the Bradford-Hill

    criteria require evaluation of all the evidence, with no one factor being dispositive.52

    “There is no formula or algorithm that can be used to assess whether a causal

    inference is appropriate based on these guidelines. One of more factors may be



    51
       See Gannon v. United States, 292 F. App'x 170, 172–73 (3d Cir. 2008); In re
    Zoloft, 858 F.3d at 796 (citing Milward, 639 F.3d at 17) (Bradford Hill criteria is
    “neither exhaustive nor a necessary list); see also In re Fosamax (Alendronate
    Sodium) Prod. Liab. Litig., No. CIV.A. 08-08, 2013 WL 1558690, at *2 (D.N.J. Apr.
    10, 2013); In re Tylenol (Acetaminophen) Marketing, Sales Practices, and Products
    Liability Litigation, 198 F. Supp. 3d at 455; In re Avandia Marketing, Sales
    Practices and Products Liability Litigation, 2011 WL 13576, at *3 (“Bradford-Hill
    criteria are used to assess whether an established association between two variables
    actually reflects a causal relationship.”)
    52
       See Magistrini, 180 F. Supp. 2d at 593 (“[O]ne or more of the factors may be
    absent even where a causal relationship exists and ... no factor is a sine qua non of
    causation); In re Fosamax (Alendronate Sodium) Products Liability Litigation, 2013
    WL 1558690, at *4 (denying motion to preclude plaintiffs' expert on general
    causation because, as here, the expert considered the Bradford Hill factors, and the
    criticisms went to the weight, not admissibility of the testimony, concluding,
    “Defendant is free to address these issues on cross-examination...”); In re Zoloft
    (Sertraline Hydrochloride) Products Liability Litigation, 26 F. Supp. 3d at 463 (An
    expert need not consider or satisfy all criteria in order to support a causal
    inference.”); Milward, 639 F.3d at 18; see also Carl F. Cranor et. al., Judicial
    Boundary Drawing and the Need for Context-Sensitive Science in Toxic Torts After
    Daubert v. Merrell Dow Pharmaceuticals, Inc., 16 VA. ENVTL. L.J. 1, 42–49 (1996)
    (explaining Hill's criteria are not rules but considerations for arriving at best
    explanation of evidence), attached as Exhibit C; Sheldron Krimsky, The Weight of
    the Scientific Evidence in Policy and Law, 95 AM. J. PUBLIC HEALTH S129, S129
    (2005) (weight-of-the-evidence methodology mandates that “all scientific evidence
    that is relevant to the status of a causal hypothesis is taken into account.”), attached
    as Exhibit D.

                                              16
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 24 of 47 PageID: 33760




    absent even when a true causal relationship exists.”53 Hill himself rejected “hard-

    and-fast rules of evidence that must be obeyed before we accept cause and effect.”54

    As the Restatement explains: “No algorithm exists for applying the Hill guidelines

    to determine whether an association truly reflects a causal relationship or is

    spurious.”55 Rather, the Bradford-Hill criteria reflects a “weight of the evidence”

    approach that involves exercising scientific judgment to arrive at the best

    explanation, taking into account “all of the relevant available evidence.”56




    53
         Ref. Man. at 600.
    54
         Hill in fact concluded:
           What I do not believe – and this has been suggested – is that we can
           usefully lay down some hard-and-fast rules of evidence that must be
           obeyed before we accept cause and effect. None of my nine viewpoints
           can bring indisputable evidence for or against the cause-and-effect
           hypothesis and none can be required as a sine qua non. What they can
           do, with greater or less strength, is to help us to make up our minds on
           the fundamental question – is there any other way of explaining the set
           of facts before us, is there any other answer equally, or more likely than
           cause and effect?
    Hill, supra, at 299.
    55
         Restatement Third § 28 cmt. c(3).
    56
         Milward, 639 F.3d at 23.

                                               17
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 25 of 47 PageID: 33761




             C.        Both Epidemiologic and Toxicologic Studies Have Value

             To determine the effect of an agent in humans, observational studies have

    some limitations that in vitro studies and toxicology models based on live animal

    studies can overcome.57

             In vitro studies or studies in cell culture may be conducted and are an

    important part of the totality of the evidence and the determination of general

    causation.58 According to the Reference Manual, “the criteria of reliability for an in

    vitro test include the following: (1) whether the test has come through a published

    protocol in which many laboratories used the same in vitro method on a series of

    unknown compounds prepared by a reputable organization (such as the National

    Institutes of Health (NIH) or the International Agency for Research on Cancer

    (IARC)) to determine if the test consistently and accurately measures toxicity . . .

    and (3) whether the test is predictive of in vivo outcomes related to the same cell or

    target organ system.59

             Animal studies may also be conducted as actual experiments with researchers

    exercising total control over study conditions, including agent exposure and subject




    57
         Ref. Man. at 563-564.
    58
         Id. at 623, 674.
    59
         Id. at 649.

                                               18
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 26 of 47 PageID: 33762




    participation.60 Animal studies can avoid the issue of confounding and do not have

    the same ethical considerations required of studies in human populations.61 Animal

    studies also have limitations in that their results cannot always be extrapolated to

    human populations and the agent dosing used in animal studies does not always

    translate to human exposure.62 While not always a perfect solution, “animal studies

    often provide useful information about pathological mechanisms and play a

    complementary role to epidemiology by assisting researchers in framing hypotheses

    and in developing study designs for epidemiologic studies.”63

               Generally speaking, if results from both epidemiologic and toxicologic studies

    have been produced, “no universal rules exist for how to interpret or reconcile

    them.”64 However, both can be considered—“careful assessment of the

    methodological validity and power of the epidemiologic evidence must be

    undertaken, and the quality of the toxicologic studies and the questions of

    interspecies extrapolation and dose–response relationship must be considered.”65




    60
         Id. at 563.
    61
         Id.
    62
         Id.
    63
         Id.
    64
         Id. at 564.
    65
         Id. at 564-565.

                                                 19
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 27 of 47 PageID: 33763




             In this litigation, pathology evidence, animal studies, research on biologic

    mechanisms, in vitro tissue studies and epidemiologic research all demonstrate the

    carcinogenic effect of exposure to talcum powder when applied to the genital area.

    According to the Reference Manual, when this is the case, “an expert’s opinion about

    causation in a particular case is much more likely to be true.”66

             D.        Basic Principles of Epidemiology

             Basic principles of epidemiology are at issue in assessing general causation

    under Daubert. Daubert motions will use terms like “relative risk,” “statistical

    significance,” “confidence intervals,” “sample size,” “power,” “bias,” “chance,”

    “confounding,” and “association.” Understanding these concepts is critical to

    properly interpret the human epidemiologic studies, the causation evidence in this

    case and the Daubert motions. These concepts and their implications are frequently

    misunderstood particularly in products liability litigation. To assist this Court, the

    PSC has set forth below a brief overview of basic principles of epidemiology.

                       1)   Epidemiology Relies Largely on Observational Studies

             Epidemiology examines the “incidence, distribution, and etiology of

    disease.”67 Researchers are ethically prevented from knowingly exposing people to

    an agent suspected to be harmful. Accordingly, based on well-over a decade of


    66
         Id. at 674.
    67
         Id. at 551.

                                                20
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 28 of 47 PageID: 33764




    medical literature, it is clear that talcum powder is viewed as a potential cause of

    ovarian cancer. Therefore, the epidemiologic studies pertaining to general causation

    in this case are necessarily “observational.68 Another relevant concept, particularly

    with clinical medicine, is that of “risk factor.” The National Cancer Institute defines

    a risk factor as “something that increases the chance of developing a disease.” A

    cause and effect relationship exists for a risk factor when a plausible mechanism can

    be identified.69 The perineal use of talcum powder is frequently reported in the

    medical literature as a risk factor for epithelial ovarian cancer.70

             In an observational study, “the investigator identifies a group of subjects who

    have been exposed [to an agent] and compares their rate of disease… with that of an

    unexposed group.”71 The most common types of observational studies are cohort


    68
         Id. at 555–56.
    69
      Vitonis, Allison F., Linda Titus-Ernstoff, and Daniel W. Cramer. 2011. “Assessing
    Ovarian Cancer Risk When Considering Elective Oophorectomy at the Time of
    Hysterectomy.”       Obstetrics    and      Gynecology     117     (5):   1042–50.
    https://doi.org/10.1097/AOG.0b013e318212fcb7, attached as Exhibit E.
    70
       Hunn, Jessica and Gustavo C. Rodriguez. 2012. “Ovarian Cancer: Etiology, Risk
    Factors, and Epidemiology.” Clinical Obstetrics and Gynecology 55 (1): 3–23,
    attached as Exhibit F; Mallen, AR, MK Townsend, and SS Tworoger. 2018. “Risk
    Factors for Ovarian Carcinoma.” Hematology/Oncology Clinics of North America,
    attached as Exhibit G; Park, Hyo K., Joellen M. Schildkraut, Anthony J. Alberg,
    Elisa V. Bandera, Jill S. Barnholtz-Sloan, Melissa Bondy, Sydnee Crankshaw, et al.
    2018. “Benign Gynecologic Conditions Are Associated with Ovarian Cancer Risk
    in African-American Women: A Case–Control Study.” Cancer Causes & Control,
    September., attached as Exhibit H.
    71
         Ref. Man. at 556.

                                               21
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 29 of 47 PageID: 33765




    studies and case-control studies.72 “The difference between cohort studies and case-

    control studies is that cohort studies measure and compare the incidence of disease

    in the exposed and unexposed (“control”) groups, while case-control studies

    measure and compare the frequency of exposure in the group with the disease (the

    “cases”) and the group without the disease (the “controls”).”73

                       2)   Study Results Are Evaluated for the Existence of an
                            Observed Association
               “An association between exposure to an agent and disease exists when they

    occur together more frequently than one would expect by chance.”74 A causal

    relationship is one possible explanation for an observed association between an

    exposure and a disease. However, a causal relationship is just one of several possible

    explanations for an observed association that must be considered in a search for the

    most likely explanation. Expressing and interpreting the existence and magnitude

    of an association involves the concepts of “relative risk,” and “odds ratio.”75 Each

    of these measurements of association examines the degree to which the risk of

    disease increases when individuals are exposed to an agent.”76



    72
         Id.
    73
         Id. at 557.
    74
         Id. at 662.
    75
         Id. at 566.
    76
         Id.

                                               22
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 30 of 47 PageID: 33766




                       3)   Study Results are Evaluated for Strength of Association

               The strength of the association between an agent and a disease can be

    expressed using the relative risk (“RR”) approach.77 “It is defined as the ratio of the

    incidence rate […] of disease in exposed individuals to the incidence rate in

    unexposed individuals.” 78 For example, when the relative risk is expressed as 3.0,

    the exposed group is at three times the risk of disease as the unexposed group.79 The

    “odds ratio” (OR) also quantifies the magnitude of an association.80 It is similar to

    the relative risk and is used to approximate the relative risk in a case control study

    when the disease under investigation is rare.81 The higher the relative risk, the greater

    the likelihood that the relationship is causal.

               As long as the relative risk exceeds 1.0, there is no minimal threshold for a

    causal relationship. “While strength of association is a guideline for drawing an

    inference of causation from an association…, there is no specified threshold

    required.”82 “If the relative risk is greater than 1.0, the risk in exposed individuals is

    greater than the risk in unexposed individuals. There is a positive association



    77
         Id. at 566.
    78
         Id.
    79
         Id. at 567.
    80
         Id. at 568.
    81
         Id.
    82
         Id. at 611, n.186.

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Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 31 of 47 PageID: 33767




    between exposure and disease which could be causal.”83 There are a number of well-

    established causal relationships, where the magnitude of the risk is between 1.0 and

    2.0. The magnitude of risk for passive smoking and lung cancer and between

    smoking and heart disease are well-known examples.84

                       4)   Study Results Are Evaluated for the Role of Chance, Bias
                            and Confounding

               A false or spurious association can result from three general sources: chance

    (or random error), bias, and confounding.85 Before a causal inference may be drawn

    about an association, the likely existence and impact of these sources must be

    considered.86

               Bias can lead to an invalid outcome in epidemiologic studies, and “may arise

    in the design or conduct of a study, data collection, or data analysis.”87 Bias can

    amplify, minimize, or hide an association.88




    83
         Id. at 567.
    84
      For example, the relative risk for familiar, established carcinogens are: hormone
    replacement therapy has a relative risk 1.3 for breast cancer; second-hand tobacco
    smoke has a relative risk of 1.3 for lung cancer; intermittent sun exposure has a
    relative risk of 1.6 for melanoma; and benzene has a relative risk of 1.5 for leukemia.
    85
         Id. at 572.
    86
         Id.
    87
         Id.
    88
         Id.

                                                24
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 32 of 47 PageID: 33768




               Confounding “occurs when another causal factor (the confounder) confuses

    the relationship between the agent of interest and outcome of interest.” 89 For a factor

    to be a confounder for talc and ovarian cancer, it would have to be associated with

    both the use of talcum powder and the risk for ovarian cancer.90 “When they can be

    identified, confounders should be taken into account.”91

               When an association is observed in a study’s results, epidemiologists employ

    statistical techniques to estimate the likelihood that the association is due to chance.92

    Statistical tests, including the calculation of p-values and confidence intervals, are

    used to evaluate the likelihood that an observed association resulted from chance or

    random error. “Sometimes the study findings, merely by chance, do not reflect the

    true relationships between agent and outcome.” Any study can be “subject to the

    play of chance.”93

               There also is a relationship between sample size and the role of chance. A

    study needs to have a large enough sample size (the number of study participants or

    power); “by enlarging the sample size … researchers can … reduce the chance of




    89
         Id. at 591.
    90
         Id.
    91
         Id. at 593.
    92
         Id. at 575.
    93
         Id.

                                                25
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 33 of 47 PageID: 33769




    random error in their results.”94 Statistical tests, including the calculation of p-values

    and confidence intervals, are used to evaluate the likelihood that an observed

    association resulted from random error.

               P-values are used to determine the likelihood that the observed association

    occurred due to chance.95 It “represents the probability that an observed positive

    association could result from random error even if no association were in fact

    present. Thus, a p-value of .1 means that there is a 10% chance that values at least

    as large as the observed relative risk could have occurred by random error, with no

    association actually present in the population.”96

               For a study’s results to be deemed “statistically significant,” epidemiologists

    have historically used a standard that the p-value must fall below a selected

    significance level (or alpha).97

               The typical significance level used is .05, where “the probability is 5% of

    observing an association at least as large as that found in the study when in truth

    there is no association.”98




    94
         Id. at 576.
    95
         Id.
    96
         Id.
    97
         Id. at 575.
    98
         Id. at 577.

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Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 34 of 47 PageID: 33770




             Finding of an increased risk should not be ignored simply because it did not

    reach statistical significance, especially when the risk is repeated in different studies.

    Results that are not statistically significant may be compatible with substantial

    effects.99 As noted by one district court citing the epidemiology textbook by Dr.

    Kenneth Rothman, a “p value cannot provide evidence of lack of an effect.”100

    “Observational studies can produce legitimate disagreement among experts, and

    there is no mechanical procedure for resolving such differences of opinion. In the

    end, deciding whether associations are causal typically is not a matter of statistics

    alone, but also rests on scientific judgment,”101 and requires consideration of all lines

    of evidence.

                          a.     Statistical Significance is Frequently Misunderstood

             In a causal analysis, a study should be included in the consideration even if its

    results were not statistically significant. “The notion that only when data

    demonstrates ‘statistical significance’ do epidemiologists draw inferences about

    observed associations between suspected risk factors and medical conditions is



    99
         Id. at 579.
    100
        In re Phenylpropanolamine (PPA) Prod. Liab. Litig, 289 F.Supp.2d at 1243
    (citing Rothman, Epidemiology, An Introduction at 117).
    101
       See also, Rothman, K, Six Persistent Research Misconceptions, J Gen Intern, Med
    29(7); 1060-4 (2014) (“Significance testing has led to far more misunderstanding
    and misinterpretation than clarity in interpreting study results.”), attached as Exhibit
    I.

                                                27
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 35 of 47 PageID: 33771




    mistaken.”102 “The term ‘statistical significance’ could be expunged from the lexicon

    of the epidemiologist with no loss; accordingly it should not be allowed to assume

    an importance or role in law beyond its use as an epidemiologist tool.”103 As Hill

    himself pointed out in 1965 when discussing this very issue: “No formal tests of

    significance can answer [cause and effect] questions.”104

             As was recently pointed out in an editorial signed by over 800 academics

    which accompanies 43 articles in the Journal American Statistician:

             Let’s be clear about what must stop. [W]e should never conclude there
             is ‘no difference’ or ‘no association’ just because a P value is larger
             than a threshold such as 0.05 or, equivalently, because a confidence
             interval includes zero. Neither should we conclude that two studies
             conflict because one had a statistically significant result and the other
             did not.”105

                          b.    Confidence Intervals Provide the Probable Range of
                                Risk Estimates

             When interpreting a study’s results, epidemiologists consider the confidence

    interval. This can be important in assessing whether the results of several studies are

    consistent, i.e., when the confidence intervals overlap at say, 20%, they are

    consistent with a 20% increased risk even if one result is statistically significant and


    102
          Rothman Amici Brief at 3.
    103
          Id. at 4.
    104
          Hill, supra at 299.
    105
      Amrhein, et al., Scientists Rise Up Against Statistical Significance, NATURE 567,
    305-307 (March 2019), attached as Exhibit J.

                                                28
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 36 of 47 PageID: 33772




    another is not.106 As noted in the PSC’s other briefing, this concept is relevant to

    assessing the consistency of several talcum powder human epidemiologic studies.

    A confidence interval is a range of values consistent with a study’s results. “If a 95%

    confidence interval is specified, the range encompasses the results we would expect

    95% of the time if samples for new studies were repeatedly drawn from the same

    population.”107

                         c.    A Study’s Power Reflects the Likelihood of an
                               Association Being Statistically Significant
             Statistical significance and power are inter-related concepts. “[A] large

    enough sample of individuals must be studied if the study is to identify a relationship

    between exposure to an agent and disease that truly exists.”108 “The power of a study

    is the probability of finding a statistically significant association of a given

    magnitude (if it exists) in light of the sample sizes used in the study.”109 The power

    of a study depends on several factors: the sample size; the level of alpha (or statistical




    106
        Id. at p. 306 (Using non-significant 1.2 or 20% example: “It would be ludicrous
    to conclude that the statistically non-significant result showed “no association” when
    the interval estimate included serious risk increases.”).
    107
          Ref. Man. at 580.
    108
          Id. at 576.
    109
          Id. at 582.

                                               29
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 37 of 47 PageID: 33773




    significance) specified; the background incidence of disease; and the specified

    relative risk that the researcher would like to detect.”110

                            d.     Confounding as a Source of Error in Epidemiologic
                                   Studies

                The issue of confounding may be raised by the Defendants in its Daubert

    motions. “Confounding occurs when another causal factor (the confounder) confuses

    the relationship between the agent of interest and outcome of interest.”111A

    confounder must meet this definition: “a confounder is both a risk factor for the

    disease and a factor associated with the exposure of interest.”112 Having yellow-

    tinged finger tips is associated with smoking and lung cancer. Even though having

    yellow-tinged finger tips is associated with lung cancer, it obviously is not a cause

    of lung cancer. It fits the classic definition of a confounder because it is associated

    with the exposure (smoking) and the outcome (lung cancer).

                There are accepted techniques for adjusting to account for confounders. The

    existence of the confounders in a study are not the fault of the investigators as they

    “reflect the inherently ‘uncontrolled’ nature of exposure designations in

    observational studies.”113 “It is…necessary to keep [the] risk [of confounding] in


    110
          Id.
    111
          Id. at 591.
    112
          Id.
    113
          Id. at 593.

                                                 30
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 38 of 47 PageID: 33774




    perspective. Often the mere possibility of uncontrolled confounding is used to call

    into question the results of a study. […] The critical question is whether it is plausible

    that the findings of a given study could indeed be due to unrecognized

    confounders.”114

                Some bias, like recall bias, are more common with one kind of study design

    (case-control); and other biases, like “misclassification bias” are more common with

    others (cohort). Therefore, it is important that each observational study be evaluated

    individually and not on the basis of any so-called “hierarchies” or “pyramids” that

    presume one study design generally has more value than another generally.115

                E.    The Law Related to Epidemiology and General Causation

                Although there is more than substantial evidence based on epidemiologic

    studies in this case, the Court should not require that expert opinions be supported

    by epidemiologic studies, because they are not “per se required as a condition of

    admissibility . . . .”116 Here, multiple robust statistically significant study results


    114
          Id.
    115
       Rothman at 1060-1061 (“The type of study should not be taken as a guide to the
    study’s validity.”).
    116
       In re Tylenol (Acetaminophen) Mktg., Sales Practices, & Prod. Liab. Litig., 198
    F. Supp. 3d at 454 (while epidemiological studies can be valuable evidence of
    causation, they are not a pre-requisite for products liability causation expert
    testimony in this Circuit); Wolfe v. McNeil-PPC, Inc., No. CIV.A. 07-348, 2011 WL
    1673805, at *15 (E.D. Pa. May 4, 2011); Lanzilotti by Lanzilotti v. Merrell Dow
    Pharm. Inc., No. CIV.A. 82-0183, 1986 WL 7832, at *2 (E.D. Pa. July 10, 1986)
    (“We note also that it has not been declared in this circuit that epidemiological

                                                31
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 39 of 47 PageID: 33775




    support causation. Indeed, the observational studies over the past 40 years yield the

    following which are not in dispute:

                • There are 37 observational studies of talcum powder and ovarian
                  cancer: 31 case-control studies (7 hospital based and 24
                  population based), 2 pooled case-control studies, and 3 cohort
                  studies;117

                • The overwhelming majority (n=34) of these studies, irrespective
                  of study design, found a positive association (i.e., a hazard ratio
                  > 1), with most showing an association in the range of 1.1-1.7
                  representing a 10-70% increased risk of ovarian cancer with
                  talcum powder use;118

                • In a majority of the published studies (n=19), the positive
                  association reported was statistically significant to a p=.05;119

                • Even in the published studies that were not statistically
                  significant, the vast majority had confidence intervals which
                  overlapped 1.2-1.25, consistent with a 20-25 % increased risk of




    studies are an indispensable element in the presentation of a prima facie drug product
    liability case, or that such studies must be the sole basis for expert opinion.”); Mazur
    v. Merck & Co., 742 F. Supp. 239, 264 (E.D. Pa. 1990) (same); see also Soldo v.
    Sandoz Pharm. Corp., 244 F. Supp. 2d 434, 449 (W.D. Pa. 2003) (discussing the
    value of epidemiological studies); see also In re Neurontin Marketing, Sales
    Practices, and Products Liability Litigation, 612 F. Supp. 2d at 132 (“Epidemiologic
    studies, while considered to be ‘powerful evidence of causation,’ are not required to
    prove causation in a pharmaceutical personal injury case.”).
    117
       See the Plaintiffs’ Steering Committee’s Memorandum of Law in Support of its
    Motion to Exclude the Opinions of Defendants’ Epidemiology Experts Karla V.
    Ballman, PhD, Christian Merlo, M.D., PhD, Gregory Diette, M.D., MHS, &
    Jonathan Borak, M.D., DABT.
    118
          Id.
    119
          Id.

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Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 40 of 47 PageID: 33776




                      ovarian cancer seen in the studies which did find a statistically
                      significant association; 120 and,

                   • In addition, there are numerous published and unpublished meta-
                     analyses of the observational studies. All show a consistent and
                     statistically significant 25-35% increased risk of ovarian
                     cancer.121

                However, as noted above statistical significance is not required, and a district

    court should not “read too much” into the issue of the lack of statistical significance”

    of an individual study.122 Instead, the focus under Daubert should be on whether an

    inference of causation can be predicated on the “totality” of the evidence.123

                The ultimate goal in epidemiology is to judge whether an association between

    an exposure and disease is, in fact, causal.124 Although association does not equal




    120
          Id.
    121
          Id.
    122
        Milward, 639 F.3d at 24 (holding that “[t]he court erred in treating the lack of
    statistical significance as a crucial flaw”); In re Zoloft., 858 F.3d at 793 (declining
    to state a bright-line rule on whether statistical significance is necessary noting that
    “a standard based on replication of statistically significant findings obscures the
    essential issue: a causal connection.”).
    123
        “The notion that only when data demonstrates ‘statistical significance’ do
    epidemiologists draw inferences about observed associations between suspected risk
    factors and medical conditions is mistaken.” Brief for Kenneth Rothman et al., supra
    note 2, at 3. “Indeed, the term ‘statistical significance’ could be expunged from the
    lexicon of the epidemiologist with no loss; accordingly, it should not be allowed to
    assume an importance or role in law beyond its use as an epidemiologist tool.” Id. at
    4.
    124
       Bert Black & David E. Lilienfeld, Epidemiologic Proof in Toxic Tort Litigation,
    52 FORDHAM L. REV. 732, 750 (1984), attached as Exhibit K.

                                                   33
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 41 of 47 PageID: 33777




    causation, “association often does reflect causation.”125 “Deciding whether

    associations are causal . . . rests on scientific judgment.”126

             F.     The Role of Biologic and Toxicological Evidence in Causal
                    Determinations

             To assess whether an observed association is causal, science considers

    whether the association is “biologically plausible.”127 In assessing the biologic

    evidence however, it is clear that science need not know precisely how an agent

    causes a disease128 and the absence of biologic evidence does not prevent science

    from establishing causation. Indeed, Hill himself noted that while biologic evidence

    is “helpful,” it is a “feature…we cannot demand [because] what is biologically

    plausible depends on the biologic knowledge of the day.”129

             Thus, the question is not whether the mechanism of effect is “biologically

    proven," but whether what is known about association makes it "biologically


    125
          Ref. Man. at 221, 264.
    126
          Id. at 222.
    127
          Hill, supra.
    128
        In re Phenylpropanolamine (PPA) Prod. Liab. Litig, 289 F. Supp. 2d at 1243
    ("Not knowing the mechanism whereby a particular agent causes a particular effect
    is not always fatal to a plaintiff's claim. Causation can be proved even when we don't
    know precisely how the damage occurred, if there is sufficiently compelling proof
    that the agent must have caused the damage somehow." Daubert II, 43 F.3d at 1314.
    See also Daubert, 509 U.S. at 590 ("Of course, it would be unreasonable to conclude
    that the subject of scientific testimony must be `known' to a certainty; arguably, there
    are no certainties in science.") (Emphasis added).
    129
          Hill, supra. at 298.

                                               34
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 42 of 47 PageID: 33778




    plausible" that there is cause-and-effect. Stated another way, epidemiologists are

    taught that science should consider whether what is known about the biology of the

    relationship (if anything)— “makes sense”:

                 Biological Plausibility: The basic question here is, does
                 the association make biological sense? Is the association
                 credible based on our understanding of the natural history
                 of the disease or possible pathogenic mechanisms?130
          In this case, there has been evidence, most of which has been collected from

    and reported in the peer-reviewed literature that bears on the question of whether it

    “makes sense” biologically that the statistical relationship between talcum powder

    and ovarian cancer reported in the observational studies is likely causal. Though

    that evidence has been described elsewhere, it is summarized below:

             •   Talcum powder products contain historically known and
                 suspected carcinogens, including asbestos and asbestiform or
                 fibrous talc, heavy metals and certain fragrance
                 chemicals. This evidence is collected from the peer-review
                 literature, internal but contemporaneous testing by both J&J and
                 the mining company (Imerys), the testing of historical talcum
                 powder samples, and J&J’s disclosure of aspects of fragrance
                 formulations. Evidence that J&J’s talcum powder products
                 contain known or suspected carcinogens has been cited in the
                 epidemiologic and other literature as being biologically plausible
                 evidence supporting a causal inference between talcum powder
                 products and ovarian cancer;

             •   Talcum powder products incite an inflammatory response and
                 induce reactive oxidative stress, both known to be involved in
                 the process of carcinogenesis. This biological evidence has been

    130
       Oleckno, W.A., Epidemiology: Concepts and Methods (2008), attached as
    Exhibit L.


                                             35
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 43 of 47 PageID: 33779




                      cited in the epidemiologic and other literature as being
                      biologically plausible evidence supporting the causal inference
                      between talcum powder products and ovarian cancer;

                  •   Talcum powder products and similar particles have been reported
                      to “migrate” up the female genital tract and have been found
                      pathologically in ovarian tissue. This biological evidence has
                      been cited in the epidemiologic and other literature as being
                      biologically plausible evidence supporting the causal inference
                      between talcum powder products and ovarian cancer.

             G.       Scientific Certainty is Not the Burden of the Proponent of Expert
                      Testimony
             Science does not demand certainty. Likewise, under Third Circuit Daubert

    standards, the Trial Court should not impose “a standard of scientific certainty . . .

    beyond that which Daubert envisions.”131 Plaintiffs also are not required to present

    evidence that is conclusive or unequivocal. “[I]n epidemiology hardly any study is

    ever conclusive, and we do not suggest that an expert must back his or her opinion

    with published studies that unequivocally support his or her conclusions.”132 Science

    and medicine often do not lead to certainty and the law does not require certainty.133




    131
          Ruiz-Troche, 161 F.3d at 86.
    132
          Knight v. Kirby Inland Marine Inc., 482 F.3d 347, 354 (5th Cir. 2007).
    133
      Milward, 639 F.3d at 22 (quoting Primiano v. Cook, 598 F.3d 558, 565 (9th Cir.
    2010)).

                                                 36
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 44 of 47 PageID: 33780




    IV.   CONCLUSION

          As set forth above, virtually all observational studies over four (4) decades

    with multiple different researchers, assessing different populations, and evaluating

    different study designs demonstrated an increased risk of ovarian cancer with talcum

    powder use of 25-35%. Most of these associations were statistically significant. This

    association and increased risk of ovarian cancer was confirmed by the numerous

    published meta-analyses which showed the same statistically significant risk.

          Moreover, there is reliable evidence from the properly conducted and

    evaluated studies of a dose response. In addition to the observational studies, there

    are biologically plausible reasons from which the consistent association could be and

    was determined to be causal. This includes the fact that Johnson & Johnson’s talcum

    powder products have contained known or suspected carcinogens such as asbestos,

    a fact that is supported by J&J’s own testing, the scientific literature, and testing

    conducted on historical talcum powder samples produced in this litigation.

          Furthermore, J&J’s talcum powder products can migrate and reach the ovaries

    with perineal application, and they have been shown to cause inflammation and

    oxidative stress (both involved in cancer pathogenesis). Importantly, scientists

    (outside of litigation) applying Bradford Hill have reached the same conclusions

    using the same methodology employed by the PSC’s experts. For example, it was




                                             37
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 45 of 47 PageID: 33781




    recently concluded that the observational epidemiology and the biologic evidence

    “are indicative of a causal effect.”134

          Based on the law set forth above and the arguments set forth in the PSC’s

    Daubert motions and in response to Defendants’ Daubert motions, the Court should

    grant the PSC’s Daubert motions, deny Defendants’ motions and advance this

    litigation to its next phase, case-specific pre-trial discovery to prepare for trials.

                                              Respectfully submitted,

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    134
       See, Health Canada, Draft Screening Assessment – Talc, at p. 21 (December,
    2018); see also id. at p. 15-21 (general causation analysis entitled: “Perineal
    exposure to talc”), attached as Exhibit M.

                                               38
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 46 of 47 PageID: 33782




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                                          39
Case 3:16-md-02738-MAS-RLS Document 9732 Filed 05/07/19 Page 47 of 47 PageID: 33783




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